           Case 2:17-cv-01416-TSZ Document 49 Filed 07/13/18 Page 1 of 2




1                                                               The Hon. Thomas S. Zilly
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6
                              UNITED STATES DISTRICT COURT
7
                             WESTERN DISTRICT OF WASHINGTON
8                                      AT SEATTLE

9     TRACY HARDYAL, FRANK LOPA,

10                                                       Case No.: 2:17-01416 TSZ
                                     Plaintiffs,
11                                                       PLAINTIFFS’ SURREPLY TO
             vs.                                         DEFENDANT’S SUPPLEMENTAL
12                                                       BRIEF REGARDING ACCELERATION
      U.S. BANK NATIONAL ASSOCIATION,
13    as Successor Trustee to Bank of America,           NOTED ON MOTION CALENDAR:
      N.A. as Successor to LaSalle Bank, N.A. as         July 6, 2018
14    Trustee for Certificate Holders of Washington
      Mutual Mortgage Pass-Through Certificates          ORAL ARGUMENT REQUESTED
15
      WMALT Series 2007-3 Trust; unknown DOE
16    defendants 1 through 50 claiming an interest
      in subject property,
17
                                     Defendants.
18
19          Plaintiffs hereby request the Court to strike and not consider Frank Lopa’s bankruptcy

20   documents attached to Defendant’s Supplemental Brief in Opposition to Plaintiff’s Motion

21   for Summary Judgment (Dkt. #47), and any reference to or argument about the bankruptcy
22   documents in the Supplemental Brief.
23
            Defendant’s submission of the bankruptcy documents violates the deadline imposed
24
     LCR 7(d)(3). Any evidence to be submitted by U.S. Bank for its opposition to Plaintiff’s
25
     Motion for Summary Judgment was required to be filed no later than May 7, 2018, the
26

     PLAINTIFFS’ SURREPLY TO DEFENDANT’S
     SUPPLEMENTAL BRIEF REGARDING                                               1708 Bellevue Avenue
     ACCELERATION - 1                                                             Seattle, WA 98122
     (Case No. 2:17-01416 TSZ)                                           (206) 441-5444 FAX (206) 838-6346
           Case 2:17-cv-01416-TSZ Document 49 Filed 07/13/18 Page 2 of 2




1    Monday before the original noting date of May 11, 2018. Timely submission of this

2    additional evidence by U.S. Bank would have given Plaintiffs the ability to properly respond

3    to it. As it is, the bankruptcy documents contain nothing that indicates that Mr. Lopa believed
4
     that the acceleration of the debt had been revoked or abandoned. Indeed, the documents show
5
     that as of the time of the bankruptcy filing, Mr. Lopa believed the debt owed to U.S. Bank’s
6
     loan servicer, Ocwen, was $935,079 – the full amount of the debt, plus accrued interest. This
7
     is completely consistent with Mr. Lopa’s belief that the 2008 acceleration had never been
8

9    revoked or abandoned.

10          Additionally, Mr. Lopa’s bankruptcy documents carry no weight as to what Ms.
11   Hardyal believed about acceleration, as Ms. Hardyal was not a party to the bankruptcy.
12
     Because the documents were not submitted in compliance with LCR 7(d)(3) and are without
13
     relevance to the issue of acceleration and U.S. Bank’s possible revocation of acceleration, the
14
     Court should not consider them
15
16          DATED THIS 12th day of July, 2018.

17                                                        BERRY & BECKETT, PLLP

18                                                         /s/ Guy Beckett________________
                                                          Guy W. Beckett, WSBA #14939
19                                                        Attorneys for Plaintiffs Hardyal
20                                                                 and Lopa

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     PLAINTIFFS’ SURREPLY TO DEFENDANT’S
     SUPPLEMENTAL BRIEF REGARDING                                                1708 Bellevue Avenue
     ACCELERATION - 2                                                              Seattle, WA 98122
     (Case No. 2:17-01416 TSZ)                                            (206) 441-5444 FAX (206) 838-6346
